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                     EXHIBIT C
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                                                           Exhibit C
                                                       Utility Providers

Parkview Operating Company, LP
                                                                           Prepetition Security
                                                      Monthly Average           Deposit
Allbridge                                                         751.63
AT & T ‐ National                                                 589.47
Biologic Environmental Services                                   338.75
Brask Enterprises Inc II                                          384.13
Efax Corporate                                                    231.01
Hayward Water System                                            7,888.51
PG&E                                                            9,785.75             13,776.00
Spectrotel                                                        503.33
TPX Communications                                              1,442.99
Verizon Wireless                                                  401.53
Waste Management Inc. ‐ National                                4,884.58
Total                                                 $       27,201.67

Mariner Health Central, Inc.
                                                                           Prepetition Security
                                                      Monthly Amount            Deposit
8X8 Inc.                                                          279.84
Ability Network inc.                                            2,359.35
AT&T Teleconference Services                                    2,139.54
Efax Corporate                                                    942.94
Glendale City Of                                                  474.44
Hayward Area Historical Society                                   231.00
Hayward Water System                                              132.22
PG&E                                                              416.70
Socalgas ‐ Southern California                                     18.75
Spectrotel                                                      1,255.93
TPX Communications                                              4,211.36
Verizon Wireless                                                2,451.65
